Case 8:21-cv-01031-SSS-DFM Document 67 Filed 08/10/23 Page 1 of 5 Page ID #:1074



                                                                           J S -6
    1
    2
    3
    4
    5
    6
    7
    8                      UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10   UNITED STATES SECURITIES                    Case No. 8:21-cv-01031-SSS-DFMx
        AND EXCHANGE COMMISSION,
   11                                               FINAL JUDGMENT
   12                      Plaintiff,
   13
              v.
   14
   15   WELLNESS MATRIX GROUP, INC.,
        et al.
   16
   17                      Defendants.
   18
   19         Pursuant to the Order Granting Motion for Default Judgment and
   20   Granting, In Part, Motion for Final Judgment, the Court enters the following
   21   judgment against Defendants Wellness Matrix Group, Inc. (“Wellness Matrix”)
   22   and George Todt (“Todt”):
   23         1.    Wellness Matrix is PERMANENTLY ENJOINED from directly
                    or indirectly violating Section 10(b) of the Securities Exchange Act
   24
                    and Rule 10b-5 by the use of any means or instrumentality of
   25               interstate commerce or of the mails, or of any facility of any
                    national securities exchange,
   26
   27               (a) To employ any device, scheme, or artifice to defraud;
   28

                                              -1-
Case 8:21-cv-01031-SSS-DFM Document 67 Filed 08/10/23 Page 2 of 5 Page ID #:1075




    1               (b) To make any untrue statement of a material fact or to omit to
                        state a material fact necessary in order to make the statements
    2
                        made, in the light of the circumstances under which they were
    3                   made, not misleading; or
    4
                    (c) To engage in any act, practice, or course of business which
    5                   operates or would operate as a fraud or deceit upon any person,
    6
                       in connection with the purchase or sale of any security. 15
    7                  U.S.C. §§ 78u(d)(1), 78j(b); 17 C.F.R. § 240.10b-5.
    8
                    This injunction binds those who receive actual notice of this
    9               judgment by personal service or otherwise. Fed. R. Civ. P.
   10               65(d)(2). Those who are bound by the injunction are (1) Wellness
                    Matrix; (2) Wellness Matrix’s officers, agents, servants,
   11               employees, and attorneys; and (3) other persons in active concert or
   12               participation with Wellness Matrix’s officers, agents, servants,
                    employees, or attorneys. Id.
   13
   14         2.    Wellness Matrix is ORDERED to pay a civil penalty of $100,000.
                    15 U.S.C. § 78u(d)(3)(B)(iii)(aa); 17 C.F.R. § 201.1001(b).
   15
   16               Wellness Matrix must make payment within 30 after entry of this
                    Final Judgment. Wellness Matrix has three payment options:
   17               First, Wellness Matrix may send electronic payment to the United
   18               States Securities and Exchange Commission (“SEC”), which will
                    provide detailed ACH transfer/Fedwire instructions upon its
   19               request. Second, Wellness Matrix may pay using a bank account
   20               directly via Pay.gov, which can be found on the SEC’s website
                    (http://www.sec.gov/about/offices/ofm.htm.). Third, Wellness
   21               Matrix may pay by certified check, bank cashier’s check, or United
   22               States postal money order payable to the SEC, which must be
                    delivered or mailed to
   23
   24                                 Enterprise Services Center
                                      Accounts Receivable Branch
   25                                 6500 South MacArthur Blvd.
   26                                 Oklahoma City, OK 73169

   27               Wellness Matrix must simultaneously transmit photocopies of
   28               evidence of payment and case identifying information to SEC’s

                                              -2-
Case 8:21-cv-01031-SSS-DFM Document 67 Filed 08/10/23 Page 3 of 5 Page ID #:1076




    1               counsel. By making this payment, Wellness Matrix relinquishes all
                    legal and equitable right, title, and interest in such funds and no
    2
                    part of the funds must be returned to Wellness Matrix. The SEC
    3               must send the funds paid pursuant to this Final Judgment to the
                    United States Treasury. The SEC may enforce the Court’s
    4
                    judgment for penalties by the use of all collection procedures
    5               authorized by law, including the Federal Debt Collection
                    Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil
    6
                    contempt for the violation of any Court orders issued in this action.
    7               Wellness Matrix must pay post-judgment interest on any amount
                    due after 30 days of the entry of this Final Judgment under 28
    8
                    U.S.C § 1961.
    9
   10         3.    Todt is PERMANENTLY ENJOINED from directly or indirectly
                    violating Section 10(b) of the Securities Exchange Act and Rule
   11               10b-5 by the use of any means or instrumentality of interstate
   12               commerce or of the mails, or of any facility of any national
                    securities exchange,
   13
   14               (a) To employ any device, scheme, or artifice to defraud;

   15               (b) To make any untrue statement of a material fact or to omit to
   16                   state a material fact necessary in order to make the statements
                        made, in the light of the circumstances under which they were
   17                   made, not misleading; or
   18
                    (c) To engage in any act, practice, or course of business which
   19                   operates or would operate as a fraud or deceit upon any person,
   20
                    in connection with the purchase or sale of any security. 15 U.S.C.
   21               §§ 78u(d)(1), 78j(b); 17 C.F.R. § 240.10b 5.
   22
                    This injunction binds those who receive actual notice of this
   23               judgment by personal service or otherwise. Fed. R. Civ. P.
   24               65(d)(2). Those who are bound by the injunction are (1) Todt; (2)
                    Todt’s officers, agents, servants, employees, and attorneys; and (3)
   25               other persons in active concert or participation with Todt’s officers,
   26               agents, servants, employees, or attorneys. Id.

   27         4.    Todt is PERMANENTLY ENJOINED from directly or
   28               indirectly, and through any entity owned or controlled by Todt,

                                              -3-
Case 8:21-cv-01031-SSS-DFM Document 67 Filed 08/10/23 Page 4 of 5 Page ID #:1077




    1               participating in the issuance, purchase, offer or sale of any security.
                    15 U.S.C. § 78u(d)(5). This injunction does not prohibit Todt from
    2
                    purchasing or selling securities listed on a national securities
    3               exchange for his own personal account.
    4
                    This injunction binds those who receive actual notice of this
    5               judgment by personal service or otherwise. Fed. R. Civ. P.
                    65(d)(2). Those who are bound by the injunction are (1) Todt; (2)
    6
                    Todt’s officers, agents, servants, employees, and attorneys; and (3)
    7               other persons in active concert or participation with Todt’s officers,
                    agents, servants, employees, or attorneys. Id.
    8
    9         5.    Todt is PERMANENTLY BARRED from acting as an officer or
   10               director of any issuer that has a class of securities registered to
                    Section 12 of the Securities Exchange Act or that is required to file
   11               reports pursuant to Section 15(d) of the Exchange Act. 15 U.S.C. §
   12               78u(d)(2).

   13         6.    Todt is ORDERED to pay a civil penalty of $446,458. 15 U.S.C.
   14               § 78u(d)(3)(B)(iii)(aa); 17 C.F.R. § 201.1001(b).

   15               Todt must make payment within 30 after entry of this Final
   16               Judgment. Todt has three payment options: First, Todt may send
                    electronic payment to the SEC, which will provide detailed ACH
   17               transfer/Fedwire instructions upon his request. Second, Todt may
   18               pay using a bank account directly via Pay.gov, which can be found
                    on the SEC’s website (http://www.sec.gov/about/offices/ofm.htm.).
   19               Third, Todt may pay by certified check, bank cashier’s check, or
   20               United States postal money order payable to the SEC, which must
                    be delivered or mailed to
   21
   22                                 Enterprise Services Center
                                      Accounts Receivable Branch
   23                                 6500 South MacArthur Blvd.
   24                                 Oklahoma City, OK 73169

   25               Todt must simultaneously transmit photocopies of evidence of
   26               payment and case identifying information to SEC’s counsel. By
                    making this payment, Todt relinquishes all legal and equitable
   27               right, title, and interest in such funds and no part of the funds must
   28               be returned to Todt. The SEC must send the funds paid pursuant to

                                               -4-
Case 8:21-cv-01031-SSS-DFM Document 67 Filed 08/10/23 Page 5 of 5 Page ID #:1078




    1               this Final Judgment to the United States Treasury. The SEC may
                    enforce the Court’s judgment for penalties by the use of all
    2
                    collection procedures authorized by law, including the Federal
    3               Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., and
                    moving for civil contempt for the violation of any Court orders
    4
                    issued in this action. Todt must pay post-judgment interest on any
    5               amount due after 30 days of the entry of this Final Judgment under
                    28 U.S.C § 1961.
    6
    7         7.    The Court retains jurisdiction of this matter to enforce the terms of
                    this Final Judgement.
    8
    9
        Dated: August 10, 2023
   10
                                              SUNSHINE S. SYKES
   11                                         United States District Judge

   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                              -5-
